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   FOR 2018 13                                                                                                              JOURNAL DETAIL 2018     1 TO 2018 13
ACCOUNTS FOR:                                                   ORIGINAL             TRANFRS/   REVISED                                     AVAILABLE           PCT
1000     GENERAL FUND                                            APPROP              ADJSTMTS    BUDGET   YTD EXPENDED    ENCUMBRANCES        BUDGET           USED

1000-00-351000-01-90-0-4-551300-                                                 PROF PUBL
                                                                      1,090            -281         809         707.05             .00            101.95        87.4%
  2018/09/000047             03/20/2018     API           707.05     VND    000039 VCH          DAILY HAMPSHIRE GAZE ADS PLACED IN AMHERST BULLETIN 1008703
  2018/10/000035             04/10/2018     API           275.11     VND    000039 VCH          DAILY HAMPSHIRE GAZE ADS PLACED IN AMHERST BULLETIN 1008866
  2018/1 0/0 0 00 54         04/17/2018     GCR          -353.52     REF    10-54                                          DAILY GAZETTE ADS
  2018/11/0000 75            05/01/2018     GCR          -137.55     REF    11-75                                          DAILY GAZETTE ADS IN BULLETIN
  2018/11/000079             05/22/2018     API           504.70     VND    000039 VCH          DAILY HAMPSHIRE GAZE ADS PLACED IN AMHERST BULLETIN 1009284
  }01 8 /12 / 0 001 51       06/22/2018     GCR          -288.74     REF    12-151                                         AMHERST BULLETIN ADV
1000 - 00 - 351000 - 01 - 90 - 0 - 4 - 571000 -                                  TRAVEL ALL
                                                                             0          523         523         522.91             .00               .09       100.0 %
  .2..Q__il_[QJ./000079      09/26/2017     API           374.57     VND    008123    VCH       MORRIS, MICHAEL       9/14-17/17 TRAVEL                    1007229
  2018/04/000021             10/03/2017     API            56 . 52   VND    004639    VCH       BARBER-JUST,SARAH     9/14/17-9/17/17 TRAVEL               1007252
  20 18 /04/000043           10/10/2017     API            22.00     VND    005662    VCH       LOPEZ,ALICIA          9/14/17-9/17/17 TRAVEL               1007403
  2018/0 4 /000092           10/23/2017     API            69.82     VND    009619    VCH       LEVY, BEN             REIMB FOR CONFERENCE EXPENSES        10 07520
1000-00 - 351000 - 01 - 90-0 -4- 571001 -                                        TRAVEL ADM
                                                                      2,480          -2,480           0             .00            .00               .00          .0 %

1000 - o_o_::i5_Jooo - 01-9o -o-4- 571.QSJ2~                                     TRAVEL SUP
                                                                           171          -17         154             .00            .00            154.00          •   0 9-0


1000 - QQ -351 000 - 0l - 90 - 0-4 - 578000-                                     COMM
                                                                      2,060             1,294     3,354       3,186.79             .00            167.21        95.0%
  2018/0l/00Q___Q__l__6__    07/12/2017     API           990.00     VND    009547   VCH        MYSTERY ROOM, LLC    8/14/17 TEAM BUILDING                 1007246
  20 18/02/000008            08/01/2017     API              3.98    VND    003274   VCH        W B MASON INC        JUL 2017 COOLER RENTAL                1006842
  2018/02/Q__Q___Q_Q__Q_fi   08/01/2017     API           -12.00     VND    003274   VCH        W B MASON INC        BOTTLE DEPOSIT                        1006842
  2018/02/000008             08/01/2017     API            16.38     VND    003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER             1006842
  2018/02/000008             08/01/2017     API            - 6.00    VND    003274   VCH        W B MASON INC        WATER BOTTLE DEPOSIT                  1006842
  2018/02/Q0Q__Q__QJ1        08/01/2017     API            16.38     VND    003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER             1006842
  2018/02/0QQ00B             08/01/2017     API            16.38     VND    003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER             1006842
  2018/02/000008             08/01/2017     API            - 6.00    VND    003274   VCH        W B MASON INC        WATER BOTTLE DEPOSIT                  1006842
  2018/02/00003..2.          08/11/2017     API            16.38     VND    003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER            1006886
  2018/02/000032             08/11/2017     API            -6.00     VND    003274   VCH        W B MASON INC        RETURN BOTTLE DEPOSIT                 1006886
  2...0..1..8./02/000032     08/11 / 2017   API            16.38     VND    003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER            1006886
  2018/02/000032             08/11/2017     API              3.98    VND    003274   VCH        W B MASON INC        JUL 2017 RENTAL SUMMIT ACADEME        1006886
  20 18/02/000032            08/11/2017     API            16.38     VND    003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER            1006886
  20 1 8/02/00.Q.Ql.2.       08/11/2017     API           -16.38     VND    003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER            1006886
  2018/02/000032             08/11/2017     API            16.38     VND    003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER            1006886
  2018/02/000032             08/11/2017     API            16.38     VND    003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER            1006886
  2018/02/000032             08/11/2017     API            16.38     VND    003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER             1006886
  2018/02/000043             08/15/2017     API            16.38     VND    003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER            1006905
  2018/02/000043             08/15/2017     API           -16.38     VND    003274   VCH        W B MASON INC        RE:I46644404                          1006905
  2018/02/000043             08/15/2017     API            16.38     VND    003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER             1006905
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                                                             ! REGION SCHOOL SYSTEM
                                                               YEAR-TO-DATE BUDGET REPORT
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   FOR 2018 13                                                                                                                           JOURNAL DETAIL 2018      1 TO 2018 13
ACCOUNTS FOR:                                                               ORIGINAL             TRANFRS/   REVISED                                       AVAILABLE      PCT
1000     GENERAL FUND                                                        APPROP              ADJSTMTS    BUDGET   YTD EXPENDED     ENCUMBRANCES         BUDGET      USED


51QQQD1 578Q00 COMM
  2Ql8/ Q2/QQ QQ67 08/02/2017                         GCR           -495 .00     REF   02-67                                               TEAM BLDG EVENT DILT
  2Ql8/Q3/000008 09/01/2017                           API              11.75     VND   002603    VCH        AMAZON.COM           IDEAS ARE FREE BOOK                  1006942
  2018/03/000014 09/06/2017                           API            161.44      VND   003333    VCH        BAUDVILLE            TROPHYS/NAMEPLATES                   1006986
  2018/03/000060 09/20/2017                           API              16.38     VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007151
  2018/03/Q0Q060 09/20/2017                           API              16.38     VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007151
  2018/03/000060 09/20/2017                           API            -16.38      VND   003274    VCH        W B MASON INC        BOTTLE DEPOSIT                       1007151
  201 8/03/000060 09/20/2017                          API              16.38     VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007151
  2018/04/000037 10 /06/20 17                         API            -12.00      VND   003274    VCH        W B MASON INC        BOTTLE DEPOSIT                       1007351
  2018/04/000037 10/06/2017                           API              16.38     VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007351
  20 18 /04/000037 10 /06/2017                        API            -1 6.38     VND   003274    VCH        W B MASON INC        WATER RETURN                         1007351
  2018/04/000037 10 /06/20 1 7                        API              16.38     VND   003274    VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER           1007351
  2018/04/0Q0037 10 /06/2017                          API              16.38     VND   003274    VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER           1007351
  2018/04/0Q0037 10/06/2017                           API            -12.00      VND   003274    VCH        W B MASON INC        BOTTLE DEPOSIT                       1007351
  2018/04/000037 10/06/2017                           API            -12.00      VND   003274    VCH        W B MASON INC        BOTTLE DEPOSIT                       10 0735 1
  2018/04/000037 10/06 / 2017                         API            -12.00      VND   003274    VCH        W B MASON INC        BOTTLE DEPOSIT                       1007351
  2018/04/000092 10/23/2017                           API              16.38     VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007562
  2018/04/000092 10/23/2017                           API              16.38     VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007562
  2Ql8/04/000092 10/23/2017                           API                4.38    VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007562
  2018/04/000092 10/23/2017                           API              16.38     VND   003274    VCH        W B MASON INC        FY1 8 CENTRAL OFFICE WATER           1007562
  2018/04/000092 10 / 23/2017                         API              32.76     VND   003274    VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER           1007562
  2018/05.l.Q_Q_Q..9_Q_9_ 11/03 /20 17                API              24.57     VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007652
  2018/05/00_Q_Q_0_9_ 11/03 /2 017                    API              12 . 00   VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007652
  2018/05/000009 11/03/2017                           API              - 6 .00   VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            10 076 52
  2018/05/000009 11/03/2017                           API              -6.00     VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            10 076 52
  2018/05/000009 11 /03/ 2017                         API            -12.00      VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007652
  2018/05/000016 11/17/2017                           API              32.76     VND   003274    VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER           1007748
  2018/05/000046 11/17 / 2017                         API              16.38     VND   003274    VCH        W B MASON INC        FY18 SUMMI T ACADEMEY WATER          1007748
  2018/05/000046 11 / 17 /20 17                       API              16.38     VND   003274    VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER           1007748
  2018/05/000046 11 / 17 /20 17                       API            -24.00      VND   003274    VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER           1007748
  2018/05/000046 11 / 17 /20 17                       API              24.57     VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            10 077 48
  2018/05/000046 11 / 17 /20 1 7                      API              24.57     VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            10 07 748
  2018/05/000058 11 / 28 /2017                        API            202.92      VND   00107 6   VCH        ATKINS FARM COUNTY M 11 / 15 / 17 DINNER FOR 16           1007754
  2..0.1..8.LQ~/000001 12/01/2017                     API              16.38     VND   003274    VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER           1007839
  LQU../..Q..,'2_l_Q__Q_Q....Q.fil. 12 / 01 / 201 7   AP I             24 .57    VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007839
  2018/06/000004 12 /0 1 /20 1 7                      API              24 . 57   VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007839
  2018/06/ 0 00004 12 /0 1 /2017                      API            -18.00      VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007839
  2018/06/000057 12 / 14 /20 17                       API              16.38     VND   003274    VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER           1007951
  2018/06/000057 12 / 14 /20 17                       API            - 16.38     VND   003274    VCH        W B MASON INC        BOTTLE RETURN                        1007951
  2018/06/00illl.22 12 / 14 /2 017                    API            -16.38      VND   0032 74   VCH        W B MASON INC        BOTTLE RETURN                        1007951
  2018/06/000057 12/14/2017                           API              16.38     VND   003274    VCH        W B MASON INC        FY18 SUMMI T ACADEMEY WATER          10 07951
  2018/06/000057 12 / 14 /20 1 7                      API            -12.00      VND   003274    VCH        W B MASON INC        BOTTLE DEPOSIT                       1007951
  2018/06/000057 12 / 14 /20 17                       API              24.57     VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007951
  2018/06/000057 12/14/2017                           API              24 .57    VND   003274    VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER            1007951
  2018/06/000057 12/14/2017                           API            -24.57      VND   003274    VCH        W B MASON INC        RETURN                               10 07951
  2018/07/000017 01/12/2018                           API              14.44     VND   002603    VCH        AMAZON.COM           1-STAR SPINNER TROPHY                1008098
  2018/07/000017 01/12/2018                           API              59.38     VND   002603    VCH        AMAZON.COM           11-5" SPINNER TROPHIES               1008098
  2018/07/Q00017 01/12/2018                           API              36 . 91   VND   002603    VCH        AMAZON.COM           11-5" SPINNER TROPHIES               1008098
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   FOR 2018 13                                                                                                                         JOURNAL DETAIL 2018   1 TO 2018 13
ACCOUNTS FOR:                                                                ORIGINAL            TRANFRS/   REVISED                                    AVAILABLE     PCT
1000     GENERAL FUND                                                         APPROP             ADJSTMTS    BUDGET   YTD EXPENDED   ENCUMBRANCES        BUDGET     USED


51QQQD4 57 8 QQQ COMM
  2 Ql8 /Q7 /0Q0087 01/29/2018                          GCR            -48.15     REF   07-87                                          AMAZON TROPHY REIMB
  2Ql8/Q8/0 QQ0 7Q 02/27/2018                           API            400.00     VND   009703   VCH        NEPR                 UNDERWRITING TO AIR ADVER. OF     1008560
  201 8 / Q8/ 0 QQ070 02/27/2018                        API             16.38     VND   003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER        1008583
  2 018/ Q8 /0 0 0 Q70 02/27/2018                       API              5.48     VND   003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER        1008583
  2 Ql8/ Q8/0 QQ070 02/27/2018                          API              5.48     VND   003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER        1008583
  2Ql8 /0 8 / 0 0 0 0 70 02/27/2018                     API              5 . 48   VND   003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER        1008583
  2Q18 /08 /0 0 0 0 70 02/27/2018                       API              5.48     VND   003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER        1008583
  2018 /Q 8 / Q00 0 7Q 02/27/2018                       API              5.48     VND   003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER        1008583
  20 1 8/08/0000 7 Q 02/27/2018                         API            -12.00     VND   003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER        1008583
  2 Q18 /08/0 0 QQ70 02/27/2018                         API            -12.00     VND   003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER        1008583
  2018/ 0 8/ 00 Q070 02/27/2018                         API            -12.00     VND   003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER        1008583
  20 1 8/08/000070 02/27/2018                           API             -6.00     VND   003274   VCH        W B MASON INC        FY18 SUMMIT ACADEMEY WATER        1008583
  2Q1 8 /09/00004 7 03/20/2018                          API             55.37     VND   005231   VCH        PRIMO TOO            REFRESHMENTS FOR TRAINING 3/9/    1008726
  2Q 1 8(09/000Q 7 3 03/29/2018                         API             79.95     VND   001076   VCH        ATKINS FARM COUNTY M THANK YOU PACKAGE FOR PRINCETO    1008768
  2Ql8(09/Q00Q73 03/29/2018                             API             24.57     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2 Ql 8/09/Q0007 3 03/29/2018                          API             24.57     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2 Ql 8/09/00Q0 73 03/29/2018                          API             24.57     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  20 1 8(09/000Q 73 03/29/2018                          API             24.57     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2 01 8(09/0Q0Q73 03/29/2018                           API              6.57     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2__Q_l8/Q9/000073 03/29/2018                          API             18.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  20 1 8/09/0QQQ 7 3 03/29/2018                         API             24.57     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2Ql8I09/00QQ73 03/29/2018                             API             24.57     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2Q18/09/00Q073 03/29/2018                             API             24.57     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  20 1 8/Q9/0Q0Q73 03/29/2018                           API             24.57     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  20 1 8(09/000Q73 03/29/2018                           API             24.57     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2Q18/Q9/0QQQ 7 3 03/29/2018                           API             24.57     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2Ql8/Q9/0QQ073 03/29/2018                             API            -12 .00    VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2018/Q9/0Q0Q73 03/29/2018                             API             -6.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         10 08815
  2018/Q9/QQQQ73 03/29/2018                             API            -12.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2Ql8/Q9/0Q0Q73 03/29/2018                             API              5.48     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2Q18/09/0Q0Q73 03/29 / 2018                           API              5.48     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2018(09/00Q073 03/29/2018                             API              5.48     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2018/09/00Q..Q._7_1 03/29/2018                        API              5.48     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2018(Q9/000073 03/29/2018                             API              5.48     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2Ql8/09LQ_Q.Q_Q.1..3_ 03 / 29/2018                    API            -12.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         10 08815
  2Jll.8_/09/0Q0073 03/29/2018                          API            -12.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         10 08815
  2018(09/000073 03/29/2018                             API            -12.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2018/09/0QQ073 03/29/2018                             API            -12.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2-0..1_8_LQ..2_/_Q_Q..0..0.2.3. 0 3 / 2 9 / 2 0 1 8   AP I           -12.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2018/09/000073 03/29/2018                             API            -12.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2018/09/000073 03/29/2018                             API            -12.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2018/09/0Q0073 03/29/2018                             API            -12.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         10 088 15
  2018/09/000073 03/29/2018                             API            -24.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  20 1 8/Q9/Q0Q0 73 03/29/2018                          API            -12.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2Q18/Q9/Q0Q073 03/29/2018                             API            -12.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2Ql8/Q9/0Q0Q73 03/29/2018                             API            -12.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
  2Q18/Q9/QQ 0 Q73 03/29/2018                           API            -24.00     VND   003274   VCH        W B MASON INC        FY18 CENTRAL OFFICE WATER         1008815
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  FOR 2018 13                                                                                                               JOURNAL DETAIL 2018    1 TO 2018 13
ACCOUNTS FOR:                                                   ORIGINAL            TRANFRS/   REVISED                                       AVAILABLE     PCT
1000     GENERAL FUND                                            APPROP             ADJSTMTS    BUDGET   YTD EXPENDED     ENCUMBRANCES         BUDGET     USED


51QQQD4 578Q00 COMM
  2 0 18/09 / 000073 03/29/2018            API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1008815
  2018/Q9/00Q073 03/29/2018                API             -6.00     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1008815
  2Ql8/09/0Q0Q73 03/29/2018                API             -8.19     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1008815
  2 Ql8 / 0 9/Q 0 0 073 03/29/2018         API           -12.00      VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1008815
  2 Ql8/Q9 /Q QQQ73 03/29/2018             API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1008815
   2 Ql8/09/QQQ073 03/29/2018              API           -18.00      VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1008815
  2 Ql 8/Q 9 / 0 0 Q0 73 03/29/2018        API           - 24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1008815
  2 018 /0 9/0Q0Q73 03/29/2018             API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1008815
  2Q l 8/Q9 / QQ0Q 73 03/29/2018           API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 088 15
   2Q l 8/Q9/Q 0 QQ73 03/29/2018           API             -6.00     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1008815
  2Q l 8 /1 Q/Q0 Q035 04/10/2018           API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1008919
  2 Ql 8/1Q/Q0Q03 5 04/10/2018             API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1008919
  .2..QJJl/ l Q/0Q 0 0 35 04/10/2018       API             29.44     VND   002418    VCH       WESTMORELAND,DEBBIE    REIMB FOR KANEGASAKI GIFTS      1008921
  2018/ll/0Q0Q 45 05/15/2018               API           563.81      VND   003333    VCH       BAUDVILLE              AWARDS FOR EMPLOYEE RECOGNITIO 1009145
  2Ql8/11/0Q0 045 05/15/2018               API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1009241
  2 0 1 8 /l l/Q0 0 04 5 05/15/2018        API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 092 41
  20 1 8/ll/Q0 Q04 5 05/15/2018            API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 092 41
  2..0.lJi/ 11/00 0 0 4 5 05 / 15 /2 018   API           -18.00      VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 092 41
  20 1 8/11/00004 5 05/15/2018             API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 0924 1
  2018/ 1 7/000045 05/15/2018              API           -18 .00     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1009241
  2018/l_li_90004 5 05/15/2018             API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 092 41
  2018/11/000045 05/15/2018                API           -12.00      VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 09241
  2018/ll/0j)_0_0_4_5_ 05/15/20 1 8        API           -1 2 .0 0   VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1009241
  20 1 8/11/00004 5 05/15/2018             API           -12.00      VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 0924 1
  20 1 8/1lL000045 05/15/2018              API           -18.00      VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 092 41
  2018/11/0000 7 9 05/22/2018              API             2 4 .57   VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1009323
  2018/11/000079 05/22/20 1 8              API           -1 8.00     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 09323
  .2..0l8..L1..2. 06/18/2018               API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 095 2 0
  2018/12/000052 06/18/2018                API           -24.57      VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 09520
  2018/12/ 00 0P..5..2. 06/18/2018         API           -18 . 00    VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1009520
  201S...L.l2_/ 00 0 0 52 06 / 18 /2 018   API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 09520
  2018/12/00Q052 06/18/2018                API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       10 09520
  2.QJ-8.L..LU~Jl.llil..5.2- 06/18/2018    API             24 .57    VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1009520
  2018.L.12/00009 1 06/22/2018             API           506.85      VND   001076    VCH       ATKINS FARM COUNTY M   REFRESHMENTS FOR EMPLOYEE RECO 1 009537
  2-Q.l.8_/12/000151 06/22/2018            GCR          -1 69.14     REF   12-151                                           BAUDVILLE EMPL RECOG 6/11/18
  2..0..1.aLL.2/000158 06/27/2018          API           240.00      VND   009720    VCH       UNITERIAN SOCIETY      RENTAL SPACE FOR JUNE 11, 2018 1009781
  2018/12/000260 06/28/2018                API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1009801
  2018/12/00026Q 06/28/2018                API             24.57     VND   003274    VCH       W B MASON INC          FY18 CENTRAL OFFICE WATER       1009801
  2018/12/000298 06/30/2018                GEN          -152.0 6     REF   12-298                                           AMH REIMB ATKINS
1000-0Q-351000-0 1 -90 - Q- 4-..5..8..1.QQ.Q-=-                                 RPLC EQUI P
                                                                            0             0          0       8,354.39               .00      -8,354.39    100 .0%*
  201 8/04/0Q Q0 21      10 / 03 /20 17    API           683.0 7     VND   005490 VCH          NE OPOST NEW ENGLAND   7/17/17-9/30/17 POSTAGE METER      10 07272
  2018/Q 6/0 Q0063       12/20 /20 17      API           683.07      VND   005490 VCH          NEOPOST NEW ENGLAND    FY18 POSTAGE METER MAINT           1007987
  2018/Q 6/0 0QQ63       12/20 /20 17      API        11,044.35      VND   001368 VCH          RICOH AMERICAS CORP    MPC6004EX RICOH FOR SUPERINTEN     1007989
  2Ql8/07/0Q0056         01/19/2018        GCR        -5,522.17      REF   07-56                                            REIMB RICOCH COPIER
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                  Lead In Amherst, MA School Drinking Water -
                          Cost Effective Solutions Exist

                                November 28, 2018

        Michael Hootstein, Hydrogeologist, Legacy Environmental Group
  Glen Ayers, Registered Sanitarian and Certified Public Water Supply Operator
                       Dr. Marc Edwards, Flintwaterstudy

      It is important to reduce lead exposures as much as possible -particularly for
young children, pregnant women, and infants - because "there is no safe level of
lead exposure." (Emphasis added) - Massachusetts Department ofPublic Health 1

       Comprehensive, state-directed testing 2 in 2016 for lead in Amherst school
drinking water revealed very serious health concerns at Fort River, Wildwood and
Crocker Farm Elementary Schools, Amherst Regional Middle and High Schools, and
Southeast Campus School - water from many taps was found to be unfit for human
consumption and poses an unnecessary health risk to children. This is especially
troubling because lead adversely affects virtually every organ system and young
children are especially susceptible to health harm.

       In the least lead-contaminated Amherst schools (the High School and Crocker
Farm Elementary), 31-35% of each school's drinking water tests exceeded the 5
parts per billion (ppb) U.S. Food & Drug Administration (FDA) lead limit for bottled
water3 and 9-13% exceeded the Environmental Protection Agency (EPA) 15 ppb lead
action level for Public Water Supplies. This outdated 15 ppb action standard4 is 15
times higher than the 1 ppb maximum safe lead recommendation for children put
forth by the American Academy of P ediatrics 5 • The highest level of lead (460 ppb)
was found in the High School Health Room.

       In Southeast Campus - 6 of 6 tests exceeded the 5 ppb FDA lead limit, and 4
of 6 exceeded the outdated EPA 15 ppb action level. We commend the
Superintendent for purchasing bottled water (less than 5 ppb lead) for Southeast
Campus students during the 2017-2018 school year.

       In Amherst Regional Middle School - 29 of 40 tests exceeded the 5 ppb FDA
lead limit, and 21 of 40 exceeded the outdated 15 ppb action level. Dangerous levels
of lead were found in the Middle School Boys' Locker Room Bubbler - 250 ppb,
Family Center - 120 ppb, Health Room - 60 ppb , Girl's locker room bubbler - 83 ppb
and bubblers - 220, 110 and 100 ppb .

        In Wildwood Elementary School - 66 of 75 tests exceeded the 5 ppb FDA lead
limit, and 40 of 75 exceeded the 15 ppb action level. Dangerous levels of lead were
found in the ELL Room - 67, Food Prep - 22, 23 and 18 ppb and bubblers - 53, 50, 44
ppb.

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       After obtaining these shocking results the Superintendent correctly noted the
"Fort River, Wildwood and the Middle School were built within four years of one
another (from 1969 - 1973) so it is likely that the same intervention work will be
required at all three since their systems are similar. We wanted to identify the best
repair method ... so our maintenance staff began work first at Fort River."

      The progress at Fort River revealed the difficulties and expense of piecemeal
remediation. In the initial round of sampling 77 of 78 of the 2016 tests exceeded the
5 ppb FDA lead limit for bottled water and 63 of 78 exceeded the 15 ppb action level.
Dangerous levels oflead were found in Room CR-1 - 210 ppb and bubblers - 66, 60,
57 ppb!

       After the Fort River maintenance staff repaired 20 of 63 bubblers, the retest
on September 30, 2016 revealed 20 of 20 tests still exceeded the 5 ppb FDA lead
limit and 16 exceeded the 15 ppb action level.

       After still further repairs on the 16 taps still exceeding the action level,
another retest on November 11, 2016 found 12 of 16 tests exceeded the 5 ppb FDA
lead limit, and 6 of 16 still exceeded the 15 ppb action level.

       After even more targeted repairs were undertaken on 50 more taps, testing
on 1/12/2017 revealed that 23 of 50 tests exceeded the 5 ppb FDA lead limit, and 7
of 50 still exceeded the outdated 15 ppb action level. There was still 650 ppb lead in
tap water of the school H ealth Room. In other words , despite all the effort and
expense, the data still indicates that some of the school water at Fort River
remained unfit for human consumption.

       Despite these discouraging results, we should not accept defeat, because cost
effective alternative strategies still exist. For a total cost of $8,000-10,000, 4·5 lead
filtered hydration stations could be installed in each school, where students could
fill water bottles and obtain lead free water with complete confidence. This sort of
simple investment would not only provide parents with peace of mind. Reducing our
children's lead exposure would also pay important possible future dividends in the
form of increased IQ scores, improved lifetime earning expectancy, and reduced
rates of incarceration and other social ills.

       Amherst can extend its 2016 success in testing for and identifying its schools'
water lead problems, and its hard-earned experiences with the difficulties of
remediating taps, by implementing an affordable and effective "Get the Lead Out"
solution that meets modern American Academy of Pediatrics standards.

      Please contact School Superintendent Morris to ask that he take these (or
similar) simple steps to better safeguard our children's school drinking water -
because" there is no safe level oflead exposure."



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1 MA DPH "lead·drinking·water-faq.pdf' available at
https://www.mass.gov/doc/le ad ·in· drinking·wa ter·fag s ·english ·0/downloa d

2 MA Executive Office of Energy & Environmental Affairs, Data Portal, "Search for Lead
and Copper Drinking Water Results in Schools/Childcare" available at
h ttps ://eeaonline .ee a.state. ma. us/portal#!/search/leadandcopper

3 US FDA "Bottled Water Everywhere: Keeping it Safe" available at
https ://www .fda. gov IF orConsumers/Consumer U pda tes/ucm203620. h tm

4 US Environmental Protection Agency "15 ppb Action Level" not a health-based standard,
see page 36 of US Government Accountability Office report "Lead Testing of School
Drinking Water Would Benefit From Improved Federal Guidance" available at
ht tps://www .gao.gov/products/GAO· 18· 382

5 American Academy of Pediatrics, MP Council on Environmental Health, "Prevention of
Childhood Lead Toxicity" available at
http ://p ediat rics.aappublications.org/content/ 138/ 1/e20161493 .full ·text. pdf




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                         Legacy Environmental Group
                   Michael Hootstein, Principal Hydrogeologist
                                  PO Box 158
                            Shutesbury, MA 01072



                                   May 20, 2018

                   Amherst-Pelham Reg·ional School Committee:

      Eric Nakajima, Chair      P eter Demling            Ron Mannino
      Audra Goscenski           Anastasia Ordonez         Kerry Spitzer
      Emily Marriott            Allison McDonald          Stephen Sullivan

                                170 Chestnu t Street
                                Amherst, MA 01002

Dear Amherst· P elha m Region al School Committee Members,

       I'm a hydrogeologist who discovered a long time ago that I have a passion for
protecting drinking water a nd hum an health. So, upon discovering Amherst School
drinking water is much more dangerously lead-poisoned tha n Flint drinking water,
it should come as no surprise I sou ght out guidance from Marc Edwards, PhD ., t he
nationally celebrated Virginia T ech water scientist wh o "blew the whistle" on the
Flint water crisis . And, I adopted Marc's guiding purpose as my own, that being to
limit children's future lead in water exposure to the greatest extent possible!

       I've been reaching out in good faith to this Committee for over 1 1/2 years
now, and respectfully, I find you r deafening silent response extremely troubling!
Except for one "Wate1· Update" slidesh ow presentation last year by UMass water
scientist John Tobiason a nd his team, this Committee has shut down any and all
public discourse, debate, deliberation or vote on any school policy addressing
dangerous high levels oflead in Amherst school drinking water.

       The Amherst School lead-poisoning scandal, like the Superintendent hiring
practices scandal, is su re to follow well-established patterns of malfeasance set by
previous scandals. Whenever a concerned custodial grandparent, a single mother, a
non·white female teacher, a non-white school committee member, a student, an
electrician, anyone, dares to speak out against sch ool bullying, discrimination or
misconduct, the Superintendent a nd School Committee Attorney always establishes
an emergency disinformation campaign to gain control of the Committee. False and
misleading legal a dvice is dissemin ated to the Committee, and false legal threats
are made against individua l Committee members - all for the corrupt purpose of
usurping and obstructing the legal authority of the Committee, and preventing you
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                                                                                    2


from ever deliberating and voting on matters that call for the child-protective
remediation of lead in school drinking water, or allege any Amherst School
malfeasance, discrimination and/or civil rights violation.

       Like J ake a nd Elwood Blues, I'm "on a mission from God" (without the car
ch ases but wit h th e awesome soun dtrack) to get the lead out of Amherst School
drinking water! Evil (the senseless lead-poisoning of our children) happens when
good people like you do nothing! Please, it's not too late for this Committee to walk
a more enlightened child/p ublic health-protecting path.

      I respectfully ask t he School Committee to fairly and impartially deliberate
on, and vot e to accept or de ny, my following "settlement proposal" that calls for
re mediation of dan gerou s levels of lead in Amherst school drinking water, so we can
amicably resolve my civil rights comp laint (attached) in the most just, fair, child·
protective and cost -effective manner possible .

         My settlement proposal has been inspired by, and has the full support of,
Marc Edwards, PhD ., t h e foremost n ational expert on the matter before us. Marc
did a cursory an alysis of ou r Amherst lead-testing data, and agreed with me that
testing shows lead levels in Amherst school drinking water is so "alarmingly" high
t h at it con stit utes an im minent t hreat to our children's school safety.

       Marc helped me design t h e best plan to limit lead in Amherst school drinking
water to less t h an 1 part per billion (" 1 ppb ") of lead as recommended by the
American Academy of P ediatrics and EPA to safeguard children from lead·
poisoning. This plan calls for 4·5 individually plumbed MA DEP·approved lead·
filtered hydration stations (with real-time warning systems to inform when filters
need changing) to be installed in each lead ·contaminated school, at an estimated
cost of $2,000 per unit and approximately $8,000 · $10,000 per school.

       I believe t h is proposed common-sense lead remediation plan also has the full
support of Marc's frien ds and colleagues, UMass water scientists David Reckhow,
Ph.D. and J ohn Tobiason , Ph.D., an Amherst Board of Health member who is
Superinten dent Morris's most trusted water scientist advisor. Kenneth Pelletier,
t he Massachusetts DEP official who singlehandedly oversees the "Testing
Assistance P rogram for Lead in School Drinking Water", has also graciously offered
his full support and looks forward to working with the Amherst Regional Schools in
designing and implement ing a cost-effective plan to limit our children's, and our,
danger ou s exposure to high levels oflead in Amherst School drinking water.

      Please, our children are the true wealth of our nation - we can no longer t urn
a blind eye while we continue to poison them, and not suffer the cataclysmic
consequences of our own consciousness -shocking deliberate indifference!"

             Respectfully submitted,
                                       Isl Michael B. H ootstein
